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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION


UNITED STATES OF AMERICA

VS.                                       CRIMINAL NO. 5:12-cr-9(DCB)(LRA)

STEPHANIE ODOMS                                                           DEFENDANT


                                     ORDER

       This cause is before the Court on the defendant’s Motion to

Change Method by which Balance of Sentence is Served (docket entry

82). Having carefully considered the defendant’s motion, and being

fully advised in the premises, the Court finds as follows:

       The defendant seeks a modification of her sentence to allow

her to serve the remainder of her sentence on home confinement.

Once a prison sentence is imposed on a defendant, the designation

of the place of imprisonment is left entirely to the discretion of

the Bureau of Prisons (“BOP”).         18 U.S.C. § 3621(b).

       Section 3621(b) vests in the BOP the sole discretion as to the

designation of a federal prisoner’s place of confinement, including

home    confinement.      Other    than       by   successfully       appealing      her

underlying conviction, the only avenue by which a defendant may

effectively circumvent the BOP’s placement authority is by seeking

a sentence modification pursuant to 18 U.S.C. § 3582(c).                    However,

a court may only modify a term of imprisonment under one of three

circumstances:


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        (1) upon motion by the Director of the BOP;

        (2) where modification is expressly permitted by statute or by

Fed.R.CrimP. 35; or

        (3) where a defendant was sentenced under a sentencing range

that has subsequently been lowered by the Sentencing Commission

pursuant to 28 U.S.C. § 994(o).               See 18 U.S.C. § 3582(c).

        Because    Congress     has   enacted    no    other     statute    providing

alternative grounds for sentence modification, Rule 35 supplies the

only alternative to satisfying the second condition set forth in §

3582(c).     However, Rule 35 designates only two narrow bases for a

sentence reduction: (a) to correct clear error, or (b) on motion by

the government because the defendant has provided substantial

assistance to the government.            Fed.R.Crim.P. 35(a)-(b).

        Ms. Odoms does not argue that any of the enumerated grounds

apply to her motion.      She urges the Court to modify her sentence to

allow    home     confinement    so    that    she    may   be   with    her   family.

However, after her sentence was imposed, Ms. Odoms became subject

to the custody and placement decisions of the BOP.                      The Court has

no control over the BOP’s decisions, and has no authority to modify

a defendant’s sentence except as enumerated above.                         Ms. Odoms’

request would be better directed to the BOP, although there is no

guarantee that it would be granted.

        Accordingly,

        IT IS HEREBY ORDERED that the defendant’s Motion to Change


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Method by which Balance of Sentence is Served (docket entry 82) is

DENIED.

     SO ORDERED, this the 13th day of August, 2014.



                                        /s/ David Bramlette
                                        UNITED STATES DISTRICT JUDGE




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